          Case 1:21-cr-00496-TJK Document 77 Filed 03/07/23 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :       Criminal No. 1:21-cr-00496-TJK-1
                                            :
                                            :
MARK S. IBRAHIM                             :
                                            :
                      Defendant.            :

       NOTICE OF FILING PROPOSED ORDER- PRIVACY ACT DISCLOSURE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, files the attached proposed Privacy Act Disclosure Order.

                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY
                                            DC BAR NO. 481052


                                     By:              /s/
                                            James D. Peterson
                                            Trial Attorney
                                            United States Department of Justice
                                            Special Assistant United States Attorney – D.C.
                                            VA Bar 35373
                                            1331 F Street N.W.
                                            6th Floor
                                            Washington, D.C. 20530
                                            (202) 353-0796
                                            James.d.peterson@usdoj.gov

                                            /s/ Nathaniel K. Whitesel
                                            Nathaniel K. Whitesel
                                            Assistant United States Attorney
                                            DC Bar No. 1601102
                                            601 D Street NW
                                            Washington, DC 20530
                                            nathaniel.whitesel@usdoj.gov
                                            (202) 252-7759
